
By the Court.—O’Gorman, J.
The material facts, as found, are these:—On November 4, 1884, the ship arrived in the port of New York. She was ready to discharge cargo on November 7. The cargo was not completely discharged until ‘November 24. The charter party contained this provision :—“ Twenty-five running days are to be allowed the said merchants (if the ship be not sooner dispatched), for loading the vessel at port of loading, and for the discharge with the usual quick dispatch.”
Defendant’s contention, that the proper interpretation of that clause is, that twenty-five days should be allowed for discharging in addition to twenty-five days also allowed for loading, cannot be sustained.
The only question is whether the vessel was discharged by the freighters in New York, with such quick dispatch, as is usual, under similar circumstances, in the port of New York.
The referee found that the freighters failed to exercise such usual quick dispatch; that the time which would have been required and sufficient to discharge the ship was not more than seven working days, and one fourth of a day; that is to say, from Friday, November 7, to Saturday, November 15; and that the ship was not in fact completely discharged until the afternoon of November 24, being nine and three-fourths days longer than was allowed under the charter party. The referee, in so finding, is sustained by sufficient evidence.
*3The object and intent of provisions in charter parties, such as that here in question, is to secure speedy release of the ship from her occupation in one voyage, so that she may be, as soon as possible, free to undertake another.
This is in the spirit of the maxim of Admiralty that “ a ship is made to plough the sea, and not to rot by the wall.”
The judgment below is sustained and affirmed, with costs.
Sedgwick, Ch. J., and Freedman, J., concurred.
